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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION

       ITAMAR MEDICAL LTD.,                                    Case No. 20-60719-CIV-
                                                               DIMITROULEAS/SNOW
                    Plaintiff,
       v.

       ECTOSENSE NV, and
       VIRTUOX, INC.
                    Defendants            /

       ECTOSENSE NV’S MOTION TO COMPEL ITAMAR TO PRODUCE DOCUMENTS
       AND DATA IN THE FORMAT DESIGNATED BY ECTOSENSE, IN RESPONSE TO
         ECTOSENSE'S SECOND REQUEST FOR PRODUCTION (CLINICAL DATA)1




   1
            Itamar's Responses and Objections to Ectosense's Second Request for Production of Documents to Plaintiff
   (Clinical Data), served June 22, 2021, are the subject of this motion. They are attached as Exhibit A.
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          Ectosense is countersuing Itamar for its false advertising of clinical performance that its
   devices are “97% accurate”, “have PSG-like accuracy”, and that Itamar’s purported “true sleep
   time” “avoids a 20% misdiagnosis”. These claims are patently false, but Itamar persists with its
   false advertising. Ectosense propounded requests for production seeking clinical data Itamar
   created or received that relate to these marketing claims (i.e. benchmark experiments against a
   gold-standard PSG, sleep stage testing, failure rates, and ability to accurately diagnose sleep
   apnea). The most efficient and accurate manner to evaluate clinical performance claims such as
   these is with clinical data from such clinical performance testing—which is data that medical
   device manufacturers in Europe and the U.S. are obligated to preserve and have ready for
   regulatory inspectors as part of their post market surveillance obligations. Itamar refuses to
   produce any clinical data at all.
          Whether Itamar's advertising is accurate is the fundamental issue raised by Ectosense's
   false advertising claims. Whether Itamar's advertising is accurate also has an impact on Ectosense's
   equitable defense of unclean hands by demonstrating that Itamar is engaging in rampant false
   advertising about its clinical performance. Ectosense is entitled to discovery to prove its primary
   claims, and in support its defenses. Despite Itamar’s advertising of such superlative clinical
   performance, Itamar refuses to produce any clinical data whatsoever and objects that that the
   requests are overbroad and unduly burdensome. The content of the objections are red herrings that
   do not actually demonstrate that there is any burden at all, or that the data sought is overbroad. The
   objections should be overruled, and Itamar should promptly produce responsive clinical data.
          A.      The Request Seeks Clinical Data in a Standardized Form and in a Manner
                  That The Parties Already Worked Through

          Itamar first objected to the definitions and instructions “to the extent they seek to impose
   obligations beyond the Federal Rules of Civil Procedure.” See Ex. A. The objection does not
   specify that the instructions actually do so and thus is a meaningless general objection that should
   be overruled. Moreover, the instructions were previously worked out between the parties to
   manage production of clinical data ESI. By way of background, at the same time the parties worked
   through the primary ESI protocol in this case, they created a protocol for managing the production
   of clinical data. This process involved weeks of back and forth and culminated to an agreed
   protocol for the production of clinical data ESI in a standardized format that is readily accessible
   because it calls for production of the clinical data ESI in the same format that is natively exportable


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   through commercial use, or in a format otherwise used between researchers. When finalizing the
   protocol, Itamar indicated at the last minute that because no requests for production were yet
   necessitating the production of clinical data, no protocol was needed at that time. Ectosense
   therefore promptly served its Second Request For Production seeking categories of clinical data
   that are necessary for demonstrating the falsity of Itamar’s clinical claims in advertising, and
   adapted the clinical data protocol as its instructions. Any objection Itamar has regarding burden or
   scope relating the format of production called for by the instructions, is without merit and was
   otherwise not supported by affidavit or specific examples of how the production format would be
   too burdensome. Under the instructions, Itamar can take the clinical data that it is required to
   preserve and produce in the same format that would be ordinarily exportable for someone having
   ordinary skill in handling data. By crafting the clinical data protocol in a manner that allowed
   production of clinical data ESI just as would be available through ordinary commercial use, Itamar
   should be able to batch produce without any meaningful burden. Simply put, Ectosense's
   instructions, while appearing complex, are nothing more than instructions that were mutually
   worked out so that the Parties could exchange raw clinical data.
          B.      Itamar's Burden and Scope Objections Violate this Court’s Order Governing
                  Discovery Procedures.

          Despite agreeing to produce non-controversial clinical data, Itamar has produced nothing
   and during conferrals indicated that it intends to produce nothing because the scope of the requests
   are too broad and burdensome. In its objections, despite the fact that Itamar's present day marketing
   relies heavily on clinical data obtained two decades ago, Itamar complains that there is not a limited
   time period, but offers no time period for which it will produce. Itamar violated the Court's
   discovery order: "If there is an objection based upon an unduly broad scope, such as time frame or
   geographic location, discovery should be provided as to those matters within the scope that is not
   disputed." ECF 67, pg. 2, sec. 2. Itamar is the party who cites clinical data from the early 2000s to
   justify its present day marketing claims. If Itamar were to concede that 20 year old clinical data is
   not relevant to evaluating present-day clinical performance, of a different device, then it would be
   a simple summary judgment because that is the entire point of Ectosense’s counterclaims!
   Regardless, Itamar should be producing its clinical data, and Ectosense should be awarded its fees
   for Itamar’s refusal to produce any data in violation of ECF 67.
          C.      Itamar's Objections of Undue Burden Are Premised on Illusory Hardships.

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          Itamar objects on undue burden grounds and complains it has over "1,121 publications"
   that potentially have responsive information, and removing sensitive information would be too
   hard. This is a red herring. On September 1, Ectosense wrote a conferral to Itamar’s counsel
   explaining that publications have nothing to do with clinical data, and are certainly not a proxy for
   evaluating how much clinical data may exist that is responsive to Ectosense’s requests. The letter
   is attached as Exhibit B. Despite Itamar obviously failing to do its own review of how much data
   existed, Ectosense reluctantly took the bait—because the clinical data sought is fundamentally
   important to the case—and undertook an effort of reviewing the volume of publications to see if
   there was any potential merit to Itamar’s objection. Ectosense spent several days reviewing
   publications that reference Itamar or its devices, and concluded that this objection was likely made
   by searching “Itamar” on google scholar, or some similar method. Of the ~1,200 results, only 27
   actually involved benchmark experiments that one would expect to have produced clinical data.
   Of the 27, approximately half were not sponsored by or conducted by Itamar and thus Itamar would
   presumably not have any clinical data from them. That Ectosense even needed to explain this to
   Itamar, 16 months into a litigation over highly technical issues, is baffling:
          The problem is that published manuscripts are not a proxy for evaluating the
          quantity of responsive clinical data. Many of those results are meta analysis of prior
          studies in which no clinical testing was performed, or simply academic publications
          about sleep apnea, again without clinical testing. We also take note that Itamar has
          complained that some of the studies date back almost twenty years. This is true, but
          that is because Itamar is citing twenty year old studies in support of its current
          marketing claims.
          …
                  Because Itamar's objections reveal that Itamar did not actually investigate
          the universe of responsive data to evaluate burden, we emphasize again that Itamar
          has forced Ectosense to investigate the burden for Itamar by locating studies,
          marketing materials, training materials etc. for determining the scope of what would
          be responsive to the requests for production. Even with this in mind, the objections
          Itamar lodged focused on the existence of a large volume of published manuscripts
          referencing Itamar. Manuscripts are not even relevant to determining the
          production burden because the vast majority of them presumably did not generate
          or rely upon clinical data. It seems as though Itamar has again failed to investigate
          the actual burden and instead propped up an objection that has little, if any,
          relevance to the discovery requests.

          Itamar never wrote back to Ectosense and on telephonic conferrals just indicated that it
   would not produce any data. Itamar then fell back on its objection to producing what it


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   characterized as a large volume of materials (although it still has not identified what the volume
   is), and told Ectosense that Ectosense should have to specifically identify the clinical data that
   Ectosense thought would be responsive. Notably, Itamar has not yet indicated what responsive
   clinical data it actually has, which makes the issue circular, but should result in Itamar’s objections
   being overruled as unsubstantiated. Ectosense requested clinical data; Itamar objected and asserted
   it was too burdensome. Ectosense explained why Itamar’s objections made no sense and Itamar is
   taking the position Ectosense should have to identify specific clinical data—despite Itamar failing
   to explain what data it has. That erroneous position essentially assumes Ectosense is omnipotent.
   Itamar is demanding the impossible, and it knows this.
          Ectosense is entitled to the clinical data in the possession, custody, and control of Itamar,
   and should not have to guess what precise clinical data sets Itamar has, or even know exactly what
   data exists that may be responsive. This was Itamar’s job to find out, and instead of doing so,
   Itamar raised objections that made no sense. Again, the number of manuscripts that mention
   Itamar’s products is not a proxy for evaluating, even roughly, how much clinical data Itamar may
   have that is responsive to Ectosense’s requests. Itamar should have just investigated what clinical
   data it has that is responsive to Ectosense’s requests, produced the clinical data that it is amenable
   to producing, object to whatever it believes is objectionable, and explain to the Court why whatever
   clinical data is being withheld should not be produced. Instead, Itamar believes it is appropriate
   for a discovery "response" to object and ask the requesting party to specify what data the producing
   party might have. Itamar of course uses different principles for its own discovery requests.
          D.      Itamar's Burden Objection is Further Negated by its Data Retention
                  Obligations.

          Itamar's burden objections are negated by Itamar's legal obligations to retain clinical data.
   Ectosense explained in its conferral letter that: "Itamar is a heavily regulated company both in the
   United States and in Europe. Assuming Itamar is in compliance with its regulatory obligations, it
   should have retained all of the clinical data sought." Ex. B. Bearing on both Itamar's objections
   about producing sensitive information as well as some of the older clinical data, Ectosense pointed
   out that Itamar had legal obligations to retain data in a way that protected confidentiality rights, in
   both the United States, and in Europe:
          Given the U.S. HIPAA and post-market surveillance obligations, as well as the
          European records retention and post-market surveillance obligations we find it
          unlikely that Itamar has any meaningful burden here at all. Under FDA regulations,

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           medical device manufacturers who enjoy 510(k) clearance as Itamar does for all of
           its WatchPAT devices, Itamar must conduct post market surveillance and preserve
           its clinical testing data. See https://www.fda.gov/medicaldevices/device-advice-
           comprehensive-regulatory-assistance/postmarket-requirements-devices. If Itamar
           is complying with its U.S. HIPAA and post-market surveillance obligations, it must
           have the clinical data in a reasonably accessible format that is either already stored
           in a de-identified manner, or that can be readily processed to strip PHI. It is
           inconceivable that Itamar would not have an efficient method of processing clinical
           data to remove PHI as a part of its normal business practice and compliance with
           U.S. regulatory obligations. Moreover, given Itamar's presence in Europe and the
           fact that Itamar is certified to operate in Europe, Ectosense believes that Itamar also
           complies with the European Medical Device Regulation ("MDR." See Regulation
           (EU) 2017/745 of the European Parliament and of the Council of 5 April 2017 on
           medical devices, amending Directive 2001/83/EC, Regulation (EC) No 178/2002
           and Regulation (EC) No 1223/2009.) Under the MDR, medical device
           manufacturers are obligated to maintain documented records of clinical data in
           support or in defiance of their cleared scientific claims.

   Ex. B. Itamar has never responded to these points, but is steadfastly refusing to produce any
   clinical data.
           Itamar knows that it possesses clinical data that undermines its marketing claims, and
   simply does not want that data to come to light. Itamar wants to paint a narrative that Ectosense is
   the bad actor here and is refusing to produce the very data that evaluates its present-day marketing
   claims. Ectosense asked for five categories of documents and clinical data: (1) Clinical Study Data
   (several different types); (2) materials created to discus the results of Benchmark Experiments; (3)
   correspondence and documents exchanged with review boards or committees about Itamar's
   clinical studies; (4) correspondence and documents exchanged with third parties discussing
   whether or not to publish clinical data, or the results of analysis of clinical data, and
   correspondence with third parties Itamar sponsored; and (5) communications between Itamar and
   clinical study investigators regarding Itamar's representations about how WatchPAT performed.
   Taking these narrow request together with instructions and definitions that narrow them even
   further, there should not be any real issue here with producing what Ectosense has been asking for
   since April of 2021.
           Ectosense requests the Court compel Itamar to produce responsive materials immediately,
   in the format requested, award Ectosense its attorneys’ fees, and award any other such relief that
   this Court deems appropriate.



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                       CERTIFICATE OF GOOD FAITH CONFERENCE
          I hereby certify that counsel for Ectosense, Seth J. Donahoe, conferred with counsel for
   Itamar, both in writing and telephonically. I have attached hereto a copy of the conferral
   correspondence that I sent, and that was discussed over the phone. The parties were unable to
   resolve the relief requested herein.

                                  CERTIFICATE OF SERVICE

           Counsel for Ectosense nv hereby certifies that on the 24th day of September 2021, I
   electronically filed the foregoing document via CM/ECF and served this document on all counsel
   of record as listed in the Service List below.
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